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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                           MISSOULA DIVISION



 UNITED STATES OF AMERICA,                6:18-PO-5086-KLD; 6:20-PO-5015-KLD;
                                          6:20-PO-5024-KLD
                    Plaintiff,            Ticket Number: FAJF0018, FCDS0003,
                                           FCDS000O, FBGB003B and FBGB003C
 vs.                                      Location Code: M5
                                          Disposition Code: NC AND PE
 DONALD L. WINTERS,
                                          JUDGMENT IN A CRIMINAL CASE
                    Defendant.



       The Defendant, Donald L. Winters, was present in court and entered a plea
of guilty to the charges of: VIOLATING SPECIAL USE PERMIT, MV USE
VIOLATION, CAMPING IN A DAY USE AREA ONLY, VIOLATION OF THE
MV USE MAP, and VIOLATING SPECIAL USE AUTHORIZATION.
       The court imposes the following sentence pursuant to the Sentencing
Reform Act of 1984:
             1. Violation FAJF0018 is DISMISSED.
             2. Defendant must pay the fees for all the other violations,
FCDS0003, FCDS000O, FBGB003B and FBGB003C, for a total of $160.00. This
must be paid by 11/30/21. Defendant must pay by check or money order payable to
AU.S. COURTS C CVB@ and mailed to CENTRAL VIOLATIONS BUREAU, P.O.

Box 780549 San Antonio, TX 78278. Defendant may also pay online at
www.cvb.uscourts.gov .
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             3. Defendant is prohibited from being on National Forest Lands for 6
months starting January 1st, 2022.
      Defendant is advised that pursuant to 18 U.S.C. § 3742(g) and Federal Rule
of Criminal Procedure 58(g)(2)(B), Defendant has the right to appeal the sentence
imposed in this case to a United States District Court Judge within fourteen (14)
days after entry of judgment, by filing with the Clerk of District Court a statement
specifying the judgment from which the appeal is taken, and by serving a copy of
the statement upon the United States Attorney (personally or by mail) and filing a
copy with Magistrate Kathleen L. DeSoto. If you appeal, you will be required to
pay a $38 fee pursuant to 28 U.S.C. § 1914, Fee Schedule, subsection (10) at the
time of filing your appeal. You also will be required to furnish the District Court
Judge a copy of the record, which consists of the “original papers and exhibits in
the case together with any transcript, tape or other recording of the proceedings
and a certified copy of the docket entries which shall be transmitted promptly to
the clerk of court.” Fed. R. Crim. P. 58(g)(2)(c).


Date of Imposition of Judgment: November 5, 2021.
                                             021..


 11/5/2021
____________________                                 ______________________
                                                     _______________________
Date Signed                                          KATHLEEN L.   L DESOTO
                                                     United States Magistrate Judge
